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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
                                                )
US DOMINION, INC., DOMINION VOTING              )
SYSTEMS, INC., and DOMINION VOTING              )
SYSTEMS CORPORATION,                            )
                                                    Civil Action No. 1:21-cv-00040-CJN
       Plaintiffs,                              )
                                                )
       v.                                       )
SIDNEY POWELL, SIDNEY POWELL, P.C., and         )
DEFENDING THE REPUBLIC, INC.,                   )
                                                )
       Defendants.                              )
                                                )
            REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS




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                                        INTRODUCTION

       Defendants Sidney Powell, Defending the Republic, Inc. (“DTR”), and Sidney Powell,

P.C. (collectively “Defendants”) respectfully file this reply in support of their Motion to Dismiss

(ECF #22). Because the opposition (“Pls.’ Opp’n”) filed by plaintiffs Dominion Voting Systems

Corporation, U.S. Dominion, Inc., and Dominion Voting Systems, Inc. (collectively “Plaintiffs”)

does not establish this Court’s jurisdiction over Defendants or proper venue, this Court should

dismiss this action on those bases. If the Court maintains jurisdiction, the action should be

dismissed for failure to state a defamation or deceptive-practices claim.

       Plaintiffs admittedly conduct no business in this district, suffered no injury in this district,

and do not reside or own real estate in this district. Defendants all reside in Texas. So what is this

case doing here? One can speculate that Plaintiffs wanted to avoid the difficulty of sustaining their

case in their home state of Colorado, where defamation laws protect the speech defendants are

accused of making. Or perhaps Plaintiffs felt a Texas jury would somehow come to doubt their

election integrity claims. After all, Texas banned their voting machines—twice—leading up to the

2020 election. Whatever venue is proper for Plaintiffs to defend their voting equipment and

software as free from all intrusion and manipulation, it is not this Court.

       To their credit however, in a rare moment of candor, Plaintiffs concede that as a public

figure they must establish that Ms. Powell—the only human among defendants capable of uttering

defamatory statements—acted with malice. Thus, if this Court somehow finds jurisdiction, this

case must be dismissed. Nowhere in U.S. jurisprudence has a court found someone liable for

defamation for publishing the basis of claims in four federal lawsuits supported by a combination

of over 170 separate affidavits, declarations, and expert reports. Defs.’ Mem. at 33 n.12. This Court

cannot hold Ms. Powell liable for pressing her clients’ claims based on ample evidence, even

assuming—as the Court must for a motion to dismiss—Plaintiffs’ allegations in their complaint.


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                                         ARGUMENT

I.     PLAINTIFFS MAKE SIGNIFICANT CONCESSIONS.

       “[W]hen a plaintiff files a response to a motion to dismiss but fails to address certain

arguments made by the defendant, the court may treat those arguments as conceded, even when

the result is dismissal of the entire case.” Stephenson v. Cox, 223 F. Supp. 2d 119, 121 (D.D.C.

2002). By failing to address Defendants’ arguments, Plaintiffs’ Opposition makes several

concessions, including the following:

x      Plaintiffs have no presence in, business in or connections to the District of Columbia

       whatsoever (see Defs.’ Mem. at 2);

x      Sidney Powell is a resident of Dallas, Texas, does not reside in, own real property in or

       have a law or business office in the District of Columbia (see Defs.’ Mem. Exhibit 2);

x      Defending the Republic (“DTR”) is a Texas corporation with its principal place of business

       in Dallas, Texas, does not have and never has had a physical office in the District of

       Columbia, does not transact business in the District, does not employ any attorneys, and

       has never had any attorneys appear on its behalf in District of Columbia courts (see Defs.’

       Mem. Exhibit 1):

x      Plaintiffs are public figures, this case involves matters of public concern, and the

       substantive law of Colorado—including the Colorado Constitution’s enhanced protection

       of free speech rights—applies in this case (see Defs.’ Mem. at 20-27);

x      Plaintiffs’ Complaint does not allege that Plaintiffs sustained any injury in the District of

       Columbia, rendering the Complaint facially defective under D.C. CODE § 13-423(a)(3) and

       (a)(4) (see Defs.’ Mem. at 12).




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As will be discussed below, these concessions figure significantly into the reasons that Defendants’

Motion to Dismiss should be granted.

II.    THIS COURT LACKS PERSONAL JURISDICTION OVER DEFENDANTS.

       Because Plaintiffs have not established personal jurisdiction over any Defendant, this

action must be dismissed. FED. R. CIV. P. 12(b)(2).

       A.      Plaintiffs fail to establish jurisdiction under D.C. CODE § 13-423(a)(1).

       As demonstrated in Defendants’ motion, in order to establish jurisdiction under § 13-

423(a)(1) of the long-arm statute, a plaintiff must show that i) the defendant transacted business in

the District, ii) the claim arose from that business, and iii) the business constituted minimum

contacts such that the Court’s exercise of personal jurisdiction would not offend traditional notions

of fair play and substantial justice. Thompson Hine LLP v. Smoking Everywhere Inc., 840 F. Supp.

2d 138, 142 (D.D.C. 2012), aff’d sub nom. Thompson Hine, LLP v. Taieb, 734 F.3d 1187 (D.C.

Cir. 2013).

       Not just any kind of contact with the District constitutes “transacting business” under the

statute. Rather, “the plaintiff must show that the defendant has purposefully engaged in some

commercial or business-related activity directed at District residents.” Holder v. Haarman &

Reimer Corp., 779 A.2d 264, 270-71 (D.C. 2001) (emphasis supplied).

       Plaintiffs argue that, if they can establish that any of the defendants “purposefully engaged

in some type of commercial or business-related activity directed at District residents ... [t]hat is

the end of the inquiry.” Pls.’ Opp’n at 28 (emphasis supplied). They are clearly wrong. Rather, as

the text of the long-arm statute expressly states, when jurisdiction over a person is predicated under

any of the subsections of § 13-423(a), “only a claim for relief arising from acts enumerated in this

section may be asserted against him.” § 13-423(b). Plaintiffs cannot meet these standards with

respect to any of the Defendants.


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       As Defendants’ motion demonstrates, the only specific acts by Sidney Powell alleged to

fulfill the requirements of both § 13-423(a)(1) (transacting business in the District) and § 13-

423(b) are her appearance at the November 19, 2020 press conference (see Compl. at ¶¶ 1, 24, 27,

61-63, 66, 87, 181(k) and 187); her interviews with Fox News, Fox Business News and The Epoch

Times (see Complaint ¶¶ 181(b), 181(e) and 181(aa)); and her publication of a binder to Zenger

News while in the District (¶ 181(ff)). Defs.’ Mem. at 9.

       Plaintiffs do not dispute this characterization. Nor, for that matter, do Plaintiffs even claim

that such activities by Powell constitute “transacting business” under the long-arm statute, which

would be contrary to well-established precedent. See, e.g., Haarmann, 779 A.2d at 270-71

(“transacting business” requires commercial or business-related activities); IMAPizza LLC v. At

Pizza, Ltd., 334 F. Supp. 3d 95, 111 (D.D.C. 2018) (“transacting business refers to ‘business

transactions’ in the everyday sense of commercial deal-making activities like negotiating or

performing contracts”). The issue is thus conceded.

       Instead, Plaintiffs focus on a number of other alleged activities by Powell (and the other

defendants) that either fail to constitute the transacting of business, are unrelated to Plaintiffs’

claims, or both. For example, Plaintiffs assert that “Powell and her fundraising website defamed

Dominion while advertising and soliciting donations from residents in D.C. in support of the

defamatory campaign.” Pls.’ Opp’n at 27. Putting aside for a moment the unsupported conflation

of “Powell” and “her fundraising website,” this Court “has consistently held that the maintenance

of a website that is merely accessible by District of Columbia residents is insufficient to establish

the minimum contacts necessary to establish personal jurisdiction over an out-of-state defendant.”

Betz v. Aidnest, 2018 U.S. Dist. LEXIS 183632, at *21-22 (D.D.C. October 26, 2018) (citing Doe

v. Israel, 400 F. Supp. 2d 86, 121 (D.D.C. 2005)); see also Bigelow v. Garrett, 299 F. Supp. 2d




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34, 46 (D.D.C. 2018) (allegation that defendant raised funds from and communicated with District

residents insufficient to show that defendants solicited business, engaged in persistent course of

conduct or derived substantial revenue from District activity).

       Likewise, Plaintiffs allege that Powell promoted her website to sell books and t-shirts,

represented Michael Flynn, employed two members of the D.C. Bar to work in the District, held

out DTR as having a District address, and travelled to and rented office space and hotel rooms in

the District. Pls.’ Opp’n at 27. But even if these allegations were true, they are irrelevant, as they

are unrelated to Plaintiffs’ claimed injury, which arises solely from alleged defamatory statements,

as required by § 13-423(b). See Dooley v. United Technologies Corp., 786 F. Supp. 65, 71 (D.D.C.

1992) (noting that “the reach of a Court’s jurisdiction under the ‘transacting business’ clause is

limited by Section 423(b)”). They also fail to establish a basis for jurisdiction over Powell, as

opposed to DTR.

       Simply put, Plaintiffs’ opposition does not proffer any facts or law that would support the

exercise of personal jurisdiction under § 13-423(a)(1) over defendant Sidney Powell.

       A similar conclusion follows with respect to defendants DTR and Sidney Powell, P.C.

Notably, it is Plaintiffs’ obligation to establish personal jurisdiction individually with respect to

each defendant. See Flocco v. State Farm Mut. Ins. Co., 752 A.2d 147, 162 (D.C. 2000). Plaintiffs

“cannot aggregate factual allegations concerning multiple defendants in order to demonstrate

personal jurisdiction over any individual defendant.” Atlantigas Corp. v. Nisource, Inc., 290 F.

Supp. 2d 34, 42 (D.D.C. 2003).

       Furthermore, contrary to Plaintiffs’ implication, it is not sufficient to claim that each

defendant was an agent for the other, without spelling out how it is that each defendant’s contacts

are sufficient to establish personal jurisdiction. See, e.g., id. (noting that when an individual’s




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contacts with the jurisdiction were to perpetuate a corporation’s business, rather than to transact

business as an individual, the defendant cannot be sued individually under the “transacting

business” prong of the long-arm statute).

        Plaintiffs’ Opposition makes no effort to assess the contacts of these Defendants

individually. In any event, and as discussed above, the allegations of the Complaint are wholly

insufficient to establish personal jurisdiction under the “transacting business” requirement of the

long-arm statute against any of the Defendants. Plaintiffs have not disputed that DTR does not

transact business in the District, does not employ any attorneys and does not have a physical

presence here. DTR’s maintenance of a website that is capable of being accessed by District

residents does not constitute transacting business. Bigelow, 299 F. Supp. 2d at 46. Nor does DTR’s

use of a mailing address suffice to establish the transaction of business or a basis for personal

jurisdiction. See, e.g., Farmer v. Disability Program Manager, 2020 U.S. Dist. LEXIS 90416, at

8 (D.D.C. May 21, 2020) (holding a D.C. mailing address alone insufficient to confer general

personal jurisdiction).

        As for Sidney Powell, P.C., there are no specific allegations of transacting business, other

than Powell’s representation of Michael Flynn in a case wholly unrelated to Plaintiffs.

Representing a client in federal court does not render an out-of-jurisdiction lawyer subject to the

general personal jurisdiction of the state or district where the federal court is located. And, again,

jurisdiction must be established separately as to each defendant, but Plaintiffs make no effort to

identify specific acts by Sidney Powell, P.C. that might constitute transacting business in the

District. The jurisdictional allegations are insufficient on their face.




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        B.      Plaintiffs fail to establish jurisdiction under D.C. CODE § 13-423(a)(3) or
                (a)(4).

        Plaintiffs spend much time addressing whether Defendants were physically present in the

District when the alleged tortious actions occurred (Pls.’ Opp’n at 29-30) and whether Defendants’

activities in the District establish a persistent course of conduct for purposes of the long-arm statute

(id. at 31-33). These are straw men. The central point of Defendants’ argument under § 423(a)(3)

and § (a)(4) is that Plaintiffs’ Complaint fails to allege any injury in the District, and that Plaintiffs

cannot establish such injury for purposes of the statute. Defs.’ Mem. at 11-13. Plaintiffs largely

ignore, and ultimately fail to refute this argument.

        First, Plaintiffs do not dispute that both subsections (a)(3) and (a)(4) of the long-arm statute

expressly require Plaintiffs to allege and establish that they suffered an injury “in the District.”

See, e.g., Hourani v. Psybersolutions, LLC, 164 F. Supp. 3d 128, 138 (D.D.C. 2016). Nor do

Plaintiffs dispute that their Complaint does not allege that they were injured in the District. Indeed,

the only allegations that remotely suggest any injury to Plaintiffs concern scrutiny of its contracts

by state legislators in Arizona, Florida, Louisiana, Pennsylvania, Michigan, and Georgia. Compl.

at ¶¶ 141-42. In other words, Plaintiffs concede that their Complaint fails on its face to establish a

basis for personal jurisdiction under subsections (a)(3) and (a)(4). For this reason alone, the

Complaint must be dismissed for failing to adequately allege jurisdiction. FED. R. CIV. P. 12(b)(2).

        Furthermore, Plaintiffs’ Opposition does not contain any declaration or other exhibit

claiming or even suggesting that Plaintiffs suffered an injury in the District. Indeed, as was the

case in Ashhab-Jones v. Cherokee Nation Strategic Programs, LLC, 2020 U.S. Dist. LEXIS

197814, at *13 (D.D.C. October 23, 2020), Plaintiffs’ Complaint and brief “are devoid of any

allegation that [they] were ever physically present in the District[.]” And Plaintiffs completely

ignore the directly on-point holdings in Ashhab-Jones, Blumenthal v. Drudge, 992 F. Supp. 44, 53



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(D.D.C. 1998), Hourani, 164 F. Supp. 2d at 138, and Corsi v. Caputo, 2020 U.S. Dist. LEXIS

60958, at *8 (D.D.C. April 7, 2020).

        Notwithstanding these authorities, Plaintiffs make the specious claim that it is “axiomatic”

that defamatory statements cause injury where they are published. Pls.’ Opp’n at 30. As the

foregoing authorities amply establish, that is clearly not the case with respect to the District’s long-

arm statute. Nor do the authorities Plaintiffs cite support their conclusion. Howser v. Pearson, 95

F. Supp. 936 (D.D.C. 1951), did not even involve the District’s long-arm statute, but rather

addressed a choice-of-law issue involving where the tortious act occurred. Id. at 937-38. In

Lapointe v. Van Note, 2004 U.S. Dist. LEXIS 27691 (D.D.C. November 9, 2004), Judge Walton

expressly declined to decide the issue of where the plaintiff’s injury occurred as unnecessary,

because he determined that the plaintiff had failed to establish jurisdiction under subsections (a)(3)

and (a)(4) on other grounds. Id. at **18-19 & n. 5. Likewise, Reuber v. United States, 750 F.2d

1039 (D.C. Cir. 1984), affirmed dismissal of the plaintiff’s action because of his failure to satisfy

the long-arm statute’s other requirements for establishing jurisdiction (no tortious act or persistent

course of conduct by defendants in the District). Id. at 1049-51. The court’s footnoted comment

on injury is, at best, dicta.1




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        More to the point, Reuber cited the Supreme Court’s then-recent decision in Keeton v.
Hustler Magazine, Inc., 465 U.S. 770 (1984), for its comment that the failure to establish a pre-
existing reputation in the District was not necessarily fatal to plaintiff’s claim. 750 F.2d at 1049
n.12. Keeton is of no relevance here because the long-arm statute at issue there not only extended
to the limits of due process, 465 U.S. at 774, it had recently been amended to eliminate any
requirement that a tort be committed against a New Hampshire resident. Id. at 777. By contrast,
subsections (a)(3) and (a)(4) of the District’s long-arm statute do not extend to the limits of due
process, but rather constitute “a precise and intentionally restricted tort section which stops short
of the outer limits of due process.” Burman v. Phoenix Worldwide Indus., 437 F. Supp. 2d 142,
152 (D.D.C. 2006) (quoting Helmer v. Doletskaya, 393 F.3d 201, 208 (D.C. Cir. 2004)).


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       Additionally, and as Plaintiffs concede, specific jurisdiction may be exercised over non-

resident defendants under sub-section (a)(4) only if the defendants satisfy one of three “plus

factors”: regularly doing business in the District, engaging in a persistent course of conduct, or

deriving substantial revenue from services rendered in the District. See § 13-423(a)(4); see also

Lewy v. S. Poverty Law Ctr., Inc., 723 F. Supp. 2d 116, 123 (D.D.C. 2010). As this Court has

noted, the contacts necessary to establish that a party regularly does business or engages in a

persistent course of conduct must at least be continuing in character. Burman, 437 F. Supp. 2d at

153. Those continuing operations must be “so substantial and of such a nature as to justify suit

against [the defendant] on causes of action arising from dealings entirely distinct from those

activities.” Id. (quoting Int’l Shoe v. Washington, 326 U.S. 310, 318 (1945)). And the “substantial

revenue” prong means “enough revenue to indicate a commercial impact in the forum, such that a

defendant fairly could have expected to be haled into court there.” Id. (quoting McFarlane v.

Esquire Magazine, 1994 U.S. Dist. LEXIS 9497, at *17 (D.D.C. June 8, 1994)).

       The Complaint makes no such allegations. As noted in Section II.A, supra, Sidney Powell’s

appearances at a press conference or on television broadcasts from a District hotel room do not

constitute “transacting business.” Haarmann, 779 A.2d at 270-71; IMAPizza LLC, 334 F. Supp.

3d at 111. The only other business Sidney Powell is alleged to have transacted is her representation

of Michael Flynn, who is not a resident of the District,2 in this Court and the D.C. Circuit. Although

Plaintiffs make no allegations regarding the amount of revenue Ms. Powell derived from this

representation, it is certain that it was not “substantial” enough to have a commercial impact in the




2
         When Powell represented Gen. Flynn, he was a resident of Rhode Island. See
https://www.thenewportbuzz.com/thieves-steal-trump-flag-from-lt-general-flynns-home/27209
(last visited May 24, 2021).



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District, nor would an attorney merely appearing in a federal case in this District expect to be haled

into court here on wholly unrelated matters. The same holds true for Sidney Powell, P.C., against

whom the only specific allegations of activity relate to the representation of General Flynn.

       As for DTR, as demonstrated above and by the uncontradicted declaration of Mr. Byrne, it

transacts no business in the District, has no physical presence here, does not employ any attorneys

(either in the District or elsewhere) and has not engaged in litigation here. There is no allegation

that it derives substantial revenue from activities in the District, and the claim that it has raised

money from District residents is insufficient to confer jurisdiction as a matter of law. Bigelow, 299

F. Supp. 2d at 46.

       Finally, whether or not Defendants engaged in activities to satisfy the “plus factors”

requirement of sub-section (a)(4) is irrelevant unless Plaintiffs can show an injury in the District,

which they neither allege nor attempt to establish. Norair Engineering Assoc.’s, Inc. v. Noland

Co., 365 F. Supp. 740, 743 (D.D.C. 1973). The Complaint fails to establish any basis for personal

jurisdiction, and accordingly should be dismissed.

       C.      Plaintiffs’ alter ego allegations are insufficient as a matter of law.

       Defendants’ Motion showed that the Complaint fails to allege the facts necessary to support

an alter ego or “veil piercing” claim under District of Columbia law, such as whether the corporate

form has been used to perpetuate a fraud, corporate formalities have been disregarded, or the

corporation has been inadequately capitalized. Defs.’ Mem. at 14. Plaintiffs do not deny that the

Complaint fails to make any such allegations. Instead, the Opposition falsely states or implies that

certain of these factors—which are nowhere to be found in the Complaint—were in fact alleged in

the pleading. For example, to support the fraud component of its alter ego claim, the Opposition

states that “Powell seeks to abuse the corporate forms she created for her law firm and fundraising

website to hide funds that she raised through her defamatory campaign.” Pls.’ Opp’n at 35.


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However, there is absolutely no claim about using corporate entities to “hide” money anywhere in

the 124-page Complaint, nor does the Opposition cite any part of the Complaint to support

Plaintiffs’ fanciful “hidden money” argument.

       The Complaint is also bereft of any allegation that the defendant entities did not observe

corporate formalities which, for purposes of alter ego analysis, include proper corporate filings

and passing resolutions authorizing payments. See, e.g., Motir Servs. v. Ekwun, 191 F. Sup. 3d 98,

108 (D.D.C. 2016). Although the Opposition notes that the Complaint did allege such things as

commonality of addresses, none of these claims have anything to do with the corporate formalities,

the absence of which must be pled in support of an alter ego theory.

       In sum, the Opposition identifies no allegation in the Complaint sufficient to plead a viable

alter ego claim, nor is the case law it cites of any consequence. For example, the Opposition claims

(at 36) that in Kelleher v. Dream Catcher, L.L.C., 263 F. Supp. 3d 322 (D.D.C 2017), this Court

found that alter ego was sufficiently alleged “on facts similar to those alleged here.” But the facts

in Kelleher are nothing like those Plaintiffs have alleged. On the contrary, the Kelleher court

sustained the alter ego claim because it found that plaintiff’s complaint had alleged that the entity

in question “was undercapitalized” and “did not observe corporate formalities.” Id. at 325. The

court also found that fraud had been adequately alleged, i.e., that the individual defendants

deposited funds payable to the corporation into the college savings account of their daughter.

Similar allegations regarding the elements of an alter ego claim are absent from Plaintiff’s

complaint.3




3
       Lopes v. Jetset DC, LLC, 994 F. Supp. 2d 135, 146 (D.D.C. 2014), cited at page 36 of the
Opposition, is also inapposite. In Lopes, unlike here, the plaintiff had alleged that “corporate
formalities have been disregarded” in addition to other salient factors. 994 F. Supp 2d at 147. Even
                                                                          (Footnote cont'd on next page)


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       Plaintiffs also cite McWilliams Ballard Inc. v. Broadway Management Co., 636 F. Supp.

2d 1 (D.D.C. 2009). There, the court found that plaintiff had properly pled an alter ego claim by

alleging that the corporation at issue was undercapitalized, that defendants were engaged in fraud

and “that all defendants disregarded corporate formalities and commingled corporate and personal

funds and assets.” 636 F. Supp. at 9. Plaintiffs’ Complaint does not allege any of these factors.

       Likewise, IMark Mktg. Servs, LLC. v. Geoplast S.p.A., 753 F. Supp. 2d 141 (D.D.C. 2010),

is nothing like this case because defendants there held themselves out to the public as being unified

(one said it was the branch of the other), used identical logos and maintained only a single bank

account. Id. at 151. Thus, none of the cases cited in the Opposition would support a finding that

the complaint adequately pleads an alter ego claim that would justify piercing the corporate veil.

III.   VENUE IS IMPROPER AND SHOULD BE TRANSFERRED.

       Plaintiffs accept that the only proper basis for venue in this District would be pursuant to

28 U.S.C. § 1391(b)(2), which requires that a “substantial part of the events or omissions giving

rise to the claim occurred” here. But Plaintiffs fail to acknowledge that the propriety of venue

under the statute is determined by a “commonsense appraisal” of the “events having operative

significance in the case.”

       Plaintiffs concede that the only events of any significance that occurred in this District are

the November 19, 2020 news conference at the Republican National Committee, Powell’s

appearance on Fox News broadcasts and an Epoch Times news program, and her alleged

“publication” of a document—via computer—from “within the Trump International Hotel.” But

the “operative significance” of those events is not Powell’s physical location at the time they



so, the Lopes court found that Plaintiff had just “barely” met the pleading requirements for an alter
ego claim. Id.


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occurred but, rather, how widely they were published and the content of the publication. Powell’s

physical presence at the time of these publications is merely incidental.

       Everything else of significance occurred elsewhere, including every other alleged

defamatory publication (whether via tweet, press release, web posting or other television

appearance), the lawsuits on which the alleged defamatory statements were based, the “Stop the

Steal” rally in Georgia, and Plaintiffs’ alleged injuries. See Defs.’ Mem. at 15-16. Nor do any of

the parties reside in this District; indeed, Plaintiffs have not alleged that they have any presence in

this District whatsoever.

       Nor do the factors applied in determining whether venue should be transferred pursuant to

28 U.S.C. § 1404(a) support continued prosecution in this District. See generally, Forest Cnty.

Potawatomi Cmty. v. United States, 169 F. Supp. 3d 114, 117 (D.D.C. 2016). First, Plaintiffs’

choice of forum is of lessened significance given that it chose not to file in its home forum. See

City of Palm Beach v. United States Army Corps of Eng’rs, 317 F. Supp. 3d 150, 154 (D.D.C.

2018). Second, as Defendants’ home forum, the Northern District of Texas, is significantly more

convenient for Defendants, and it is likewise so for Plaintiffs given its closer geographic proximity

to their home in Colorado. Third, much of the evidence in Defendants’ possession would be in

Texas, where their principal places of business are located, as are at least several witnesses. Fourth,

the court docket data on which Plaintiffs rely go only through September 2020, and thus fail to

account for impact on this Court’s docket of the criminal matters arising from the January 6, 2021

events at the Capitol. See Pls.’ Opp’n at 38, n.6. In any event, that same data shows that the median

time from filing to trial is 46.7 months in this District, but only 20.2 months in the Northern District

of Texas. Id

        There is no plausible reason for this matter to be in this Court. It should be transferred.




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IV.    THE STATEMENTS AT ISSUE ARE PROTECTED AND NOT ACTIONABLE.

       Once again engaging with straw men, Plaintiffs labor to establish that Powell’s statements

are capable of being proven true or false, and that there is no wholesale defamation exception for

opinions. Pls.’ Opp’n at 2-6. Defendants never made these arguments. Indeed, Defendants’

arguments assumed that each of the statements alleged in the Complaint could be proven true or

false. Defs.’ Mem. at 27. Rather, the heart of the argument under applicable Colorado law is this:

“would reasonable people conclude that the statement is one of fact, in light of its phrasing, context

and the circumstances surrounding its publication.” Keohane v. Stewart, 882 P.2d 1293, 1299

(Colo. 1994). Plaintiffs unwittingly concede the point when they state: “The essential task is to

decide whether the words complained of, considered in the context of the entire communication

and of the circumstances in which they were spoken or written, may be reasonably understood as

implying the assertion of undisclosed facts justifying the opinion.” Pls.’ Opp’n at 6 (quoting

Steinhilber v. Alphonse, 68 N.Y.2d 283, 289-90 (1986)).

       Plaintiffs seek to avoid answering this question by focusing on whether the assertions can

be proven true or false. As the foregoing authorities establish, the question whether a statement is

actionable is frequently distinct from whether it is provably true or false. More importantly, the

speaker’s belief in the truth of the statements is not relevant to this inquiry. Without a doubt Sidney

Powell believes the statements to be true—that is why she instituted litigation in four separate

jurisdictions to establish their truth. Rather, the question is,4 given the “phrasing, context and the



4
        For purposes of a motion to dismiss, the Court “should assume [the] veracity” of any “well-
pleaded factual allegations … and then determine whether they plausibly give rise to an entitlement
to relief” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009), so the question is not whether Ms. Powell
was right or wrong about Plaintiffs’ voting systems. If the Court finds that Plaintiff has properly
alleged that Ms. Powell was wrong, the court would still need to decide whether a reasonable
person would believe Ms. Powell's statements were statements of fact or opinion.


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circumstances surrounding [the statements’] publication,” how reasonable people would view the

statements: (a) as statements of fact, or (b) as statements of the gravamen of the litigation and her

opinion, which she hoped to prove in the litigation. See Defs.’ Mem. at 32. Given the full context

of a lawyer presenting her clients’ claims and evidence, the statements were clearly intending to

tell the audience what the litigation sought to prove.

       As noted in Defendants’ Motion, the actionability of the statements must be considered in

both their broad and specific contexts. Defs.’ Mem. at 28-35. Here, the broad context is a bitter

and controversial presidential campaign. That context is not, as Plaintiffs seem to suggest,

irrelevant in the defamation context. Indeed, “[t]here may be no public context more contentious

than a political campaign.” Secrist v. Harkin, 874 F.2d 1244, 1249 (7th Cir. 1989). Courts—and

reasonable people—recognize that the language of the political arena “is often vituperative,

abusive and inexact.” Watts v. United States, 394 U.S. 705, 708 (1969). As a consequence, such

speech must be “uninhibited, robust and wide-open.” N.Y. Times Co. v. Sullivan, 376 U.S. 254,

270 (1964).

       The specific context of the statements is the post-election litigation in which Powell herself

was serving as counsel. Defs.’ Mem. at 29-31. As Defendants note, and Plaintiffs do not contest,

“Powell’s statements were made as an attorney-advocate for her preferred candidate and in support

of her legal and political positions.” Id. at 29. Plaintiffs do not contest that First Amendment

protections apply where a party “[r]esorts to the courts to seek vindication of constitutional rights”

or “employs constitutionally privileged means of expression to secure constitutionally guaranteed

rights.” NAACP v. Button, 371 U.S. 415, 443, 441 (1963). Indeed, “[t]he exercise ... of First

Amendment rights to enforce constitutional rights through litigation, as a matter of law, cannot be

deemed malicious.” Id. at 439.




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       Plaintiffs respond to these and other cases on which Defendants rely for the proposition

that First Amendment protections apply with particular force in the context of litigation involving

issues of immense public concern and constitutional significance5 by stating that they are not

defamation cases. Pls.’ Opp’n at 12. They are mistaken. N.Y. Times Co. v. Sullivan involved an

advertisement making very serious charges (that were found by the jury to be libelous) in an “an

appeal for funds for three purposes: support of the student movement, ‘the struggle for the right to

vote,’ and the legal defense of Dr. Martin Luther King, Jr., leader of the movement, against a

perjury indictment then pending in Montgomery.” 376 U.S. at 256-57. The applicable law calls for

evaluating allegedly defamatory statements in their context. The context here is litigation regarding

the legitimacy of ballots and election results in a fierce and hotly disputed presidential election.

Reasonable people understand the role of advocates in such circumstances, and likewise

understand that their claims, assertions, and allegations are but one side of the story. Understood

in this context, the statements are not actionable.6

       These free speech concepts carry particular force in this case, given the application of

Colorado law and its expansive state constitutional protections of free speech—another point

Plaintiffs ignore. As the Colorado Supreme Court has stated with respect to its own constitution,

“[t]he object of article II, section 10 is to ‘guard against the trammels of political power, and to




5
        See Def. Mem. at 34-35 (noting that “the right to petition extends to all departments of the
Government. The right of access to the courts is indeed but one aspect of the right to petition”)
(citing California Transport v. Trucking Unlimited, 404 U.S. 508, 510 (1972)).
6
       Nor have Defendants claimed that attorneys can lie with impunity, another straw man with
which Plaintiffs do battle. See Pl. Opp’n at 10-11. Defendants nowhere claim that statements by
attorneys are absolutely privileged. Rather, as demonstrated in text, given the broad and specific
contexts of the statements at issue here, they are not actionable.


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secure to the whole people a full and free discussion of public affairs.’” People v. Ford, 773 P.2d

1059, 1066 (Colo. 1989) (quoting Cooper v. People, 22 P. 790, 798 (Colo. 1889)).

       That Powell disclosed the facts on which her statements were based underscores the

conclusion that they are not actionable. As even the Complaint makes clear, the documents and

affidavits in support of the various lawsuits were publicly available on the DTR website. See, e.g.,

Compl. at ¶¶ 6, 77, 82, 85, 87, 89. Likewise, the lawsuits themselves and all attendant filings were

publicly available on the various court websites. See Defs.’ Mem. at 33 n.12. And as the Complaint

likewise makes clear, Powell published a 270-page document to the Zenger News website under

the caption “READ IT: SIDNEY POWELL BINDER OF ELECTION FRAUD EVIDENCE.”

Compl. at ¶ 33.

       “[W]hen a defendant provides the facts underlying the challenged statements, it is ‘clear

that the challenged statements represent his own interpretation of those facts,’ which leav[es] the

reader free to draw his own conclusions.” Bauman v. Butowsky, 377 F. Supp. 3d 1, 11, n.7 (D.D.C.

2019) (citations omitted). “Because the reader understands that such supported opinions represent

the writer’s interpretation of the facts presented, and because the reader is free to draw his or her

own conclusions based upon those facts, this type of statement is not actionable in defamation.”

Moldea v. New York Times Co., 15 F. 3d 1137, 1144-45 (D.C. Cir. 1994).

       There could not be a more apt example of this concept than Powell’s repeated publication

of evidence as reflected in the Complaint itself. Plaintiffs argue, citing Milkovich v. Lorain Journal

Co., 497 U.S. 1, 18-19 (1990), that where the “those facts are either incorrect or incomplete, ... the

statements may still imply a false assertion of fact.” Pls.’ Opp’n at 6. But this argument is

misleading in several respects.




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       First, the issue in Milkovich was whether there was a wholesale defamation exemption for

anything that might be considered “opinion.” Id. 18. The Court concluded that there was no need

for such an “artificial dichotomy between ‘opinion’ and fact” because the “breathing space”

necessary for freedom of expression was “adequately secured by existing constitutional doctrine.”

Id. at 19. Here, of course, Defendants do not claim that there is a wholesale constitutional exception

(state or federal) for anything that might be labelled “opinion.” Rather, Defendants claim that under

the applicable law, and given the phrasing, context, and circumstances of the statements, they are

“not actionable in defamation.” Moldea, 15 F. 3d at 1144-45.

       Furthermore, Powell’s statements were based upon the evidence she had developed and

presented to courts around the country. Plaintiffs clearly dispute the import of or conclusions to be

drawn from that evidence, but they cannot say that Powell did not base her statements on what she

disclosed. That is to say, given the context of the statements and Powell’s broad disclosure of the

bases for them, they cannot “be reasonably understood as implying the assertion of undisclosed

facts justifying the opinion.” Pls.’ Opp’n at 6 (quoting Steinhilber v. Alphonse, 68 N.Y.2d 283,

289-90 (1986)). Thus, unlike cases cited by Plaintiffs, this is not a case where there is an

“implication that the speaker knows certain facts, unknown to the audience, which supports [the

speaker’s] opinion and are detrimental to the person being discussed.” See Pls.’ Opp’n at 6-7

(quoting Davis v. Boeheim, 24 N.Y.3d 262, 269 (2014)).

       The suggestion that the statements are actionable because Powell is “an attorney and former

federal prosecutor” is misguided. See Pls.’ Opp’n at 7. Indeed, the Complaint establishes, and

Plaintiffs concede, that Powell was neither non-partisan nor independent. As an attorney for her

chosen political candidate, reasonable people would understand her statements to be the partisan

allegations advocating for her client. The cases on which Plaintiffs rely for their assertion bear no




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similarity to this case. See Enigma Software Grp., USA, LLC v. Bleeping Computer LLC, 194 F.

Supp. 3d 263 (D.D.C. 2016) (action by computer software company against computer support

website for disparaging comments); Gross v. N.Y. Times Co., 82 N.Y. 2d 146 (1993) (action by

former medical examiner against newspaper for allegedly defamatory articles); Wilbanks v. Wolk,

121 Cal. App. 4th 883 (App. Ct. 2004) (action against insurance agent for allegedly defamatory

statements about viatical settlements); Slaughter v. Friedman, 32 Cal. 3d 149 (1982) (action by

oral surgeon against insurance company director for statements about unnecessary and

overcharged services).

       Although Plaintiffs object that “Powell advocates for a piece-by-piece approach” to the

allegations and evidence, Pls.’ Opp’n at 17, that is mere projection. It is Plaintiffs who seek to

avoid the entire context of the matters addressed in their Complaint. Doing so leads inescapably

to the conclusion that Powell’s statements are not actionable and the Complaint should be

dismissed.

V.     PLAINTIFFS CANNOT ESTABLISH ACTUAL MALICE.

       Plaintiffs’ Opposition does little more than repeat the same litany of grievances against

Powell’s evidence found in their Complaint and then assert that no one (least of all Powell) could

possibly have believed it. While Plaintiffs correctly cite the law—in some cases—they cannot

bring themselves to correctly apply it. A proper understanding of that law leads to the conclusion

that their claims of actual malice cannot be sustained.

       Plaintiffs of course cannot dispute that to establish actual malice, their pleading must

plausibly allege that Powell made the allegedly defamatory statements either with knowledge of

their falsity or with reckless disregard for their truth or falsity. N.Y. Times Co., 376 U.S. at 279.

Nor can they plausibly allege that Powell “in fact entertained serious doubts” as to the truth of her

statements. St. Amant v. Thompson, 397 U.S. 727, 731 (1968). As the D.C. Circuit recently put it,


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               The actual malice standard is famously "daunting." … A plaintiff
               must prove by clear and convincing evidence that the speaker made
               the statement with knowledge that it was false or with reckless
               disregard of whether it was false or not. … [A]lthough the concept
               of reckless disregard cannot be fully encompassed in one infallible
               definition, the Supreme Court has made clear that the defendant
               must have made the false publication with a high degree of
               awareness of probable falsity, or must have entertained serious
               doubts as to the truth of his publication. … The speaker's failure to
               meet an objective standard of reasonableness is insufficient; rather
               the speaker must have actually harbored subjective doubt.

Tah v. Global Witness Publ., Inc., 991 F.3d 231, 240 (D.C. Cir. 2021) (internal citations and

quotations omitted).

       Plaintiffs first disparage Defendants’ reliance on Garrison v. Louisiana, 379 U.S. 64

(1964), for the proposition that reliance on sworn declarations cannot support a finding of actual

malice on the grounds that Garrison “does not rely on declarations[.]” Pls.’ Opp’n at 13. Plaintiffs

then purport to refute Defendants’ contention by relying on Flowers v. Carville, 310 F. 3d 1118

(9th Cir. 2002), a case that ... does not rely on declarations. In fact, Flowers is nothing like this

case, as it involved the defendants’ claimed reliance for their statements on a news broadcast that

the plaintiff claimed was false. Indeed, in the paragraph following Plaintiffs’ cherry-picked quote,

the Flowers court stated that it agreed with the defendants’ statement of the law that “reliance on

reports of reputable news sources cannot constitute actual malice as a matter of law,” but simply

found it inapplicable in light of the allegations and the stage of the case. Id. at 1130.

       Plaintiffs likewise object that Powell “deliberately embellished” declarations,

misrepresented the content of a letter from members of Congress, and that one of the declarants

was trying to “backtrack” on his declaration. Pls.’ Opp’n at 15-16. This would hardly be the first

case in which such allegations were levelled against an attorney’s evidence, but Powell’s

publication of the challenged documents (repeatedly) for the world to see is hardly indicative of

her entertaining “serious doubts” about their veracity.


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       That Powell believed the allegations when she made them and believes them now is more

than a “common refrain,” Pls.’ Opp’n at 16; it is a substantial impediment to Plaintiffs’ claims.

The point is not that Powell’s belief is an indulgence entitling her to dismissal, but rather to

emphasize Plaintiffs’ burden to plausibly allege that Powell “in fact entertained serious doubts as

to the truth of h[er] publication.” Indeed, as the Supreme Court observed in Garrison, speech that

is “honestly believed contributes to the free interchange of ideas and the ascertainment of truth.”

379 U.S. at 73.

       Likewise, Plaintiffs cannot establish that the claims were inherently improbable,

particularly given the existence of declarations and affidavits from dozens of witnesses included

in the lawsuits she filed. The undersigned counsel cannot locate a case where an attorney was held

to answer in defamation for reliance on sworn declarations, nor have Plaintiffs cited any. Nor can

Plaintiffs’ arguments survive by asserting that Ms. Powell referred to a tape that Plaintiffs could

change one million votes or to fraud relating to the Governor of Georgia. Even if those specific

allegations were not in her four lawsuits, similar and stronger allegations were made, and thus

these statements cannot sustain a finding of malice.

       Plaintiffs cite the nonprecedential disposition7 in Harris v. City of Seattle, 152 F. App’x

565 (9th Cir. 2005), for their claim that allegations and proof of a “preconceived story line” can

constitute “powerful evidence” of malice. Pls.’ Opp’n at 18. Plaintiffs fail to note, however, that

the D.C. Circuit recently considered and rejected this very argument in Tah, noting that



7
         Ninth Circuit Rule 36-3(a) states: “Not Precedent. Unpublished dispositions and orders of
this Court are not precedent, except when relevant under the doctrine of law of the case or rules of
claim preclusion or issue preclusion.” See also FED. R. APP. P. 32.1(a) (“A court may not prohibit
or restrict the citation of federal judicial opinions, orders, judgments, or other written dispositions
that have been … designated as “unpublished,” “not for publication,” “non-precedential,” “not
precedent,” or the like; and … issued on or after January 1, 2007.”) (emphasis added).


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“‘preconceived notions’ or ‘suspicion[s]’ usually do ‘little to show actual malice.’” Tah, 991 F.3d

at 241 (quoting Jankovic v. International Crisis Group, 822 F.3d 576, 597 (D.C. Cir. 2016)).

       The same is true for Plaintiffs’ assertions of Powell’s alleged ill will and financial motive.

Pls.’ Opp’n at 21-22; see Tah, 991 F.3d at 243 (noting that evidence of ill will or improper motive

are insufficient to support a finding of actual malice); see also Tavoulareas v. Piro, 817 F.2d 762,

795 (D.C. Cir. 1985) (evidence of ill will insufficient by itself to support a finding of malice);

Parsi v. Daiolislam, 890 F. Supp. 2d 77, 81 (D.D.C. 2012) (“Subjective ill will does not establish

actual malice, nor does a malevolent motive for publication.”).

       Plaintiffs likewise argue that reliance on facially unreliable sources can be evidence of

actual malice. Pls.’ Opp’n at 18. But none of the cases they cite involve reliance on sworn

declarations prepared for and submitted to federal and state courts, and the “serious doubt”

standard is not measured by whether a “reasonably prudent man” would have investigated those

declarations further before publishing the statement. St. Amant, 397 U.S. at 731. Rather, a plaintiff

must offer evidence that plaintiff “in fact harbored subjective doubt” regarding the source’s

veracity. Zimmerman v. Al Jazeera Am., LLC, 246 F. Supp. 3d 257, 281 (D.D.C. 2017) (quoting

Jankovic v. Int’l. Crisis Grp., 822 F.3d 576, 589 (D.C. Cir. 2016)).

       And while Plaintiffs suggest (relying on authorities from other jurisdictions) that Powell’s

failure to retract is evidence of malice, Pls.’ Opp’n at 24, that is a dubious proposition. As the

Supreme Court observed in N.Y. Times, “failure to retract upon respondent’s demand ... is likewise

no adequate evidence of malice for constitutional purposes.” 376 U.S. at 286-87. The D.C. Circuit

has likewise stated “[plaintiff] presents no authority, nor are we aware of any, for the proposition

that a publisher may be liable for defamation because it fails to retract a statement upon which

grave doubt is cast after publication.” McFarlane v. Sheridan Square Press, 91 F.3d 1501, 1515




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(D.C. Cir. 1996); see also Montgomery v. Risen, 197 F. Supp. 3d 219, 266 (D.D.C. 2016) (failure

to retract not evidence of malice).

       Plaintiffs’ allegations, even taken as true, fail to meet the “daunting standard” of actual

malice. The Complaint should be dismissed.

VI.    THE COMPLAINT FAILS TO STATE A CLAIM AGAINST DTR.

       Defendants’ Motion showed that the defamation claims against DTR must be dismissed

because the Complaint failed to plead essential elements of a defamation cause of action. In

particular, the motion demonstrated that the Complaint contained no allegation that DTR was the

individual or entity that made any allegedly defamatory statements, nor did it allege that DTR

acted with actual malice, a necessary component of any defamation claim in this matter because

the statements at issue involved matters of public concern. See Defs.’ Mem. at 40-42.

       Plaintiffs’ Opposition contains no legitimate counter to these arguments. Plaintiffs’

principal response is that because the Complaint “defines ‘Powell’ to include all three defendants

in this case—i.e., Sidney Powell, her law firm … and … Defending the Republic,” then when the

Complaint alleges that Powell made certain remarks with malice, it is also alleging that those

remarks were made maliciously by DTR. Pls.’ Opp’n at 39-40. That is not a good-faith argument.

Do Plaintiffs really expect the Court to believe that when the Complaint alleges, for example in

paragraph 181, that Ms. Powell made certain statements in TV appearances, described in the

Complaint with screen shots of Ms. Powell from the appearances, the Complaint is also alleging

that DTR made each of those statements? Of course not; such an expectation would be absurd.

Indeed, the November 19, 2020 press conference that is one of the linchpins of the Complaint

occurred nearly two weeks before DTR was allegedly created on December 1, 2020. See Compl.

at ¶ 21. Yet that is the crux of Plaintiffs argument as to why the Court should find its defamation

claim against DTR to have been well pled. Opp. at 40.


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       Plaintiffs also argue the DTR republished certain defamatory statements made by Powell.

Id. at 40-41. But Plaintiffs do not identify where, if at all, DTR allegedly did so with malice.

Plaintiffs must plausibly allege facts that would allow a reasonable trier of fact to conclude by

clear and convincing evidence that DTR acted with actual malice. N.Y. Times Co., 376 U.S. at 279.

The Opposition’s remaining arguments on this issue are just a hodgepodge of musings that have

no bearing on whether a viable defamation claim has been pled. For example, Plaintiff argues that

it has satisfied defamation pleading requirements by alleging that DTR “solicited contributions”

and “hired attorneys” to assist the “defamatory campaign.” Id. The Complaint fails to do so, and

accordingly its defamation claim against DTR must be dismissed.

VII.   THE COMPLAINT FAILS TO STATE A CLAIM UNDER THE GEORGIA
       DECEPTIVE TRADE PRACTICES ACT.

       Defendants’ Motion showed that Plaintiffs’ Georgia Uniform Deceptive Trade Practices

Act (“UDTPA”) count should be dismissed because none of the Defendants were “engaged or

financially interested in commerce in [the voting machine] trade” that is the subject of Plaintiff’s

deceptive practice claim. Int’l Brominated Solvent Ass’n v. Am. Conf. of Governmental Indu.

Hygienists, 625 F. Supp. 2d 1310, 1318 (D. Ga. 2008) (quoting Scientific Mfg. Co. v. FTC, 124

F.2d 640, 644 (3d. Cir. 1941)). Plaintiffs Opposition (at 41-42) misapprehends International

Solvents, which clearly stated that the court would not make the “unprecedented leap that

[defendant], which is neither in the business of selling or distributing the substance at issue, nor in

the business of selling or distributing products similar to those distributed by Plaintiffs, has

engaged in trade practices that are likely to injure Plaintiffs in the future, making injunctive relief

appropriate.” 625 F. Supp. 2d at 1318. The same is true here, and for similar reasons this Court

should refuse to take the “unprecedented leap” invited by Plaintiffs.




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        Finally, for the reasons also stated in Defendants’ Motion because the statements at issue

are constitutionally protected, they are not actionable under the UDTPA. See, e.g., Moulton v. VC3,

2000 U.S. Dist. LEXIS 19916, *10-11 (N.D. Ga. Nov. 6, 2000) (citing Dominion v. Shumpert, 510

S.E.2d 81 (Ga. App. 1998)).

                                         CONCLUSION

        For all the foregoing reasons, Defendants respectfully request that their motion to dismiss

for lack of personal jurisdiction or improper venue be granted. Should the court decide to reach

the Complaint’s substantive allegations, then it should be dismissed in its entirety for failure to

state a claim.

Dated: May 24, 2021                               Respectfully submitted,


                                                       /s/ Lawrence J. Joseph
                                                  _____________________________________
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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on this 24th day of May 2021, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

caused service of the counsel for the parties.



                                                    /s/ Lawrence J. Joseph
                                                 Lawrence J. Joseph
